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     IT IS ORDERED as set forth below:



      Date: April 30, 2021
                                                         _________________________________

                                                                    Sage M. Sigler
                                                             U.S. Bankruptcy Court Judge

     ________________________________________________________________




                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 IN RE:                                      §       CHAPTER 7
                                             §
 AMERICAN UNDERWRITING                       §       Case No. 18-58406-SMS
 SERVICES, LLC,                              §
                                             §
         Debtor.                             §

      ORDER SUSTAINING FIRST OMNIBUS OBJECTION TO CERTAIN CLAIMS
         ASSERTED IN THE BANKRUPTCY CASE AS SECURED CLAIMS

         On March 5, 2021, S. Gregory Hays, Chapter 7 Trustee (the “Trustee”) for the bankruptcy

 estate (the “Estate”) of American Underwriting Services, LLC, Debtor (the “Debtor”) in the

 above captioned case (the “Bankruptcy Case”), filed a First Omnibus Objection to Certain

 Claims Asserted in the Bankruptcy Case as Secured Claims [Doc. No. 231] (the “Objection”).1




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   Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms
 in the Objection.

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 The Objection seeks the entry of an Order disallowing as secured and reclassifying the claims

 listed in Exhibit “A” to the Objection (collectively, the “Claims”) as unsecured.

        Also on March 5, 2021, counsel for the Trustee filed a notice setting the Objection and any

 responses thereto for hearing on April 21, 2021 (the “Hearing”). All requisite parties-in-interest

 had an opportunity to file a response to the Objection and attend the Hearing to support any

 asserted response to the Objection. No response to the Objection was filed and no creditor or party

 in interest appeared to oppose the relief requested in the Objection.

        Having reviewed and considered the Objection and all other matters of record in this

 Bankruptcy Case, including the lack of objection thereto, after due deliberation thereon and finding

 that good cause exists for the entry of this Order and that no further notice or opportunity for

 hearing is required, after due deliberation and for good cause shown, it is hereby ORDERED that:

        1.      The Objection is SUSTAINED and GRANTED as set forth herein.

        2.      The Claims set forth on Exhibit “A” to the Objection are disallowed as secured

 claims and reclassified as unsecured claims and the Clerk is hereby authorized and directed to

 mark each such claim as unsecured on the claims register.

        3.      The Claimants holding the Claims are only entitled to receive a distribution on the

 Claims as unsecured claims;

        4.      The Trustee is authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order; and




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        5.     The Court shall retain jurisdiction over the interpretation or the implementation of

 this Order.

                                    ***END OF ORDER***




 Prepared and Presented by:
 LAW OFFICES OF HENRY F. SEWELL JR., LLC

 /s/ Henry F. Sewell, Jr.
 Henry F. Sewell, Jr.
 Georgia Bar No. 636265
 Buckhead Centre
 2964 Peachtree Road NW, Suite 555
 Atlanta, GA 30305
 (404) 926-0053
 hsewell@sewellfirm.com
 COUNSEL FOR THE CHAPTER 7 TRUSTEE




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 Identification of parties to be served:
 Henry F. Sewell, Jr., Esq.
 Buckhead Centre
 2964 Peachtree Road NW, Suite 555
 Atlanta, GA 30305

 Office of the U.S. Trustee
 362 Richard Russell Federal Building
 75 Ted Turner Drive, SW
 Atlanta, GA 30303
 American Underwriting Services, LLC
 1255 Roberts Blvd.
 Suite 102
 Kennesaw, GA 30144
 AFCO Credit Corporation
 5600 North River Road
 Rosemont, IL 60018
 Prosight Specialty Management
 c/o Sarah Schrag, Esq.
 Dentons US LLP
 303 Peachtree St., NE
 Suite 5300
 Atlanta, GA 30308
 Seneca Crum Forster Insurance Company
 c/o Soffer, Rech & Borg, LLP
 48 Wall Street
 26th Floor
 New York, NY 10005

 Garret Nail
 3350 Riverwook Pkwy.
 Suite 460
 Atlanta, GA 30339




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